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8                                  UNITED STATES DISTRICT COURT
9                                  EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                 )      Case No: 5:21-MJ-00004-2 JLT
                                                )
12                    Plaintiff,                )      ORDER APPOINTING COUNSEL
                                                )
13            vs.                               )
                                                )
14    ROY GENE DREES,                           )
                                                )
15                    Defendant.                )
                                                )
16
17           The defendant has attested to his financial inability to employ counsel and wishes the

18   Court to appoint counsel to represent him. Therefore, in the interests of justice and according to

19   Sixth Amendment to the United States Constitution and 18 U.S.C. § 3006A, the Court

20   ORDERS:

21           1.      Alekxia L. Torres is APPOINTED to represent the above defendant in this case

22   effective nunc pro tunc to January 25, 2021. This appointment shall remain in effect until further

23   order of this court.

24
25   IT IS SO ORDERED.

26       Dated:     January 26, 2021                           /s/ Jennifer L. Thurston
27                                                     UNITED STATES MAGISTRATE JUDGE

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